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                 EXHIBIT A
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                                 EXHIBIT B
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                  EXHIBIT C
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  1   DANIEL M. PETROCELLI (S.B. #97802)
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 11   Attorneys for Plaintiff DC Comics
 12
                          UNITED STATES DISTRICT COURT
 13
                        CENTRAL DISTRICT OF CALIFORNIA
 14
      D~ COMICS,                                  Case No. CV-I0-3633 ODW (RZx)
 15
                        Plaintiff,                DISCOVERY MATTER
 16
            v.                                   PLAINTIFF DC COMICS' FIRST
 17                                              SET OF REQUESTS FOR
      PACIFIC PICTURES                           PRODUCTION TO DEFENDANT
 18   CORPORATION, IP WORLDWIDE,                 MARC TOBEROFF
      LLC, IPW, LLC, MARC TOBEROFF,
 19   an individual, MARK WARREN                 Judge: Hon. Otis D. Wright II
      PEARY, as personal representative of       Magistrate: Hon. Ralph Zarefsky
 20   the ESTATE OF JOSEPH SHUSTER,
      JEAN ADELE PEAVY, an individual,
 21   JOANNE SIEGEL, an individual,
      LAURA SIEGEL LARSON, an
 22   individual, and DOES 1-10, inclusive,
 23                     Defendants.
 24

 25   PROPOUNDING PARTY:              Plaintiff DC Comics
 26   RESPONDING PARTY:               Defendant Marc Toberoff
 27   SET NUMBER:                     One (Document Request Nos. 1-60)
 28
                                                            PL.'S FIRST SET OF REQS. FOR
                                                        PRODUC. TO DEF. MARC TOBEROFF

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  1          Pursuant to Federal Rule of Civil Procedure 34, plaintiff DC Comics hereby
  2   requests that defendant Marc Toberoff produce for inspection and copying all
  3   documents described in the following Requests for Production, in accordance with
  4   the definitions and instructions contained therein, by no later than January 10, 2011.
  5                         DEFINITIONS AND INSTRUCTIONS
  6          1.     "DOCUMENT" shall be interpreted in its broadest sense to include
  7   any and all "documents" and "other tangible things" as those terms are
  8   understood in Federal Rule of Civil Procedure 34, including, without limitation,
  9   any "writing," "recording," or "photograph" as those terms are defined in Federal
 10   Rule of Evidence 1001. This shall include, but is not limited to: e-mail, audio or '
 11   video recordings, correspondence; letters, phone messages, notes, memoranda,
 12   facsimiles, publications, contracts, agreements, calendars, drafts of proposed
 13   contracts or agreements, papers, and photographs.
 14          2.     "COMMUNICATION" means all written, electronic, oral,
 15   telephonic, gesture, or other transmission or exchange of information, including
 16   without limitation any inquiry, request, dialogue, discussion, conversation,
 17   interview, correspondence, letter, note, consultation, negotiation, agreement,
 18   understanding, meeting, e-mail, and all DOCUMENTS evidencing any verbal or
 19   nonverbal interaction between any individuals or entities.
 20          3.     "REFER" or "RELATE" (or any conjugation thereof) means,
 21   without limitation, evidence, reflect, summarize, constitute, contain, study,
 22   analyze, explain, mention, show, discuss, describe, or comment upon.
 23          4.     "OBTAIN" (or any conjugation thereof) means, without limitation,
 24   acquire, attain, capture, come by, gain, gamer, get, procure, or secure.
 25          5.     "PERSON" means any natural person, firm, association, corporation,
 26   partnership, or other legal entity or organization separately identifiable, and any
 27   department(s). or di vision( s) therein.
 28
                                                                PL. 'S FIRST SET OF REQS. FOR
                                                 - 1-       PRODUC. TO DEF. MARC TOBEROFF

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  1         6.     "YOU" or "YOUR" means Marc Toberoff and, as applicable, any
  2   PERSON in which he has a controlling ownership interest or that is acting on his
  3   behalf, including but not limited to his/their agents, employees, attorneys, and
  4   representatives.
  5         7.     "DEFENDANT" or "DEFENDANTS" means, collectively and
  6   severally, any defendant in the above-entitled action, including YOU; Pacific
  7   Pictures Corporation; IP Worldwide, LLC; IPW, LLC; Mark Warren Peary, on
  8   behalf of the Estate of Joseph Shuster; Jean Adele Peavy; Joanne Siegel; and
  9   Laura Siegel Larson and, as applicable, any PERSON acting on their behalf,
 10   including but not limited to their agents, employees, attorneys, and
 11   representatives.
 12         8.     "SIEGEL HEIRS" means, collectively and severally, Joanne Siegel,
 13   Laura Siegel Larson, Dennis Larson, Michael Siegel, or any other executor,
 14   administrator, heir, relative, or representative of Jerome Siegel and, as applicable,
 15   any PERSON acting on their behalf, including but not limited to their agents,
 16   employees, attorneys, and representatives.
 17         9.     "SHUSTER HEIRS" means, collectively and severally, the Estate of
 18   Joseph Shuster, Jean Adele Peavy, Mark Warren Peary, Dawn Peavy, Frank
 19   Shuster, or any other executor, administrator, heir, relative, or representative of
 20   Joseph Shuster and, as applicable, any PERSON acting on their behalf, including
 21   but not limited to their agents, employees, attorneys, and representatives.
                                                                         ,
 22         10.    "SUPERMAN" means the Superman character as delineated in
 23   literary works such as comic books, newspapers, novels, radio programs,
 24   television programs, and motion pictures, and any of the works in which he
 25   appears, including but not limited to Action Comics. No.1.
 26         11.    "SUPERBOY" means the Superboy character as delineated in
 27   literary works such as comic books, newspapers, novels, radio programs,
 28
                                                                PL.'S FIRST SET OF REQS. FOR
                                               -2-          PRODUC. TO DEF. MARC TOBEROFF

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  1   television programs, and motion pictures, and any of the works in which he
  2   appears, including but not limited to More Fun Comics No. 101.
  3         12.    "TOBEROFF TIMELINE" means the undated document titled
  4   "Superman - Marc Toberoff Timeline," attached as Exhibit A to the First
  5   Amended Complaint filed by plaintiff DC Comics on September 3, 2010 in the
  6   above-entitled action.
  7         13.    "TOBEROFF TIMELINE AUTHOR" means any PERSON who
  8   YOU believe was involved in creating, writing, or transmitting the TOBEROFF
  9   TIMELINE, and, as applicable, any PERSON acting on their behalf, including
 10   but not limited to their agents, employees, attorneys, and representatives.
 11         14.    "ALLEGED GRAND JURY INVESTIGATION" means the
 12   proceeding YOU REFER to in paragraph 14 of the October 4,2010 declaration
 13   YOU submitted in the above-entitled action (Docket No. 99-1), which provides:
 14               The theft of privileged documents from my law offices and their
            transmittal with an anonymous cover letter, entitled the "Toberoff
 15         Timeline," to DC's in-house legal team, as well as to other executives
            of DC's parent company, Warner Bros., by a former junior attorney at
 16         my firm, is the subject of an ongoing grand jury investigation initiated
            by the United States Attorney for the Central DIstrict of California.
 17
 18         15.    "ALLEGED DISCIPLINARY ACTION" means the action
 19   REFERRED to in an article titled "At Heart of Superman Suit, a Disappearing
 20   Lawyer with a Grudge," published by the Am Law Daily on May 21, 2010,
 21   purportedly based on a discussion with YOU, which states:
 22                That the letter to Warner's included a note saying the timeline
            information could lead to Toberoff being "suspended' ana "disgraced"
 23         isn't something Toberoff takes lightly. He says he expects to reveal
            the mysterious lawyer's identity as part of his broader response to the
 24         Warner's suit.
 25                Even more ominously, Toberoff says he is considering reporting
            the associate's actionsto the California bar.
 26
            16.    "INCLUDING" means "including,but not limited to."
 27
            17.    "Any" and "All" are interchangeable.
 28
                                                                PL.'S FIRST SET OF REQS. FOR
                                              -3-           PRODUC. TO DEF. MARC TOBEROFF

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  1          18.   The singular form includes the plural form, and vice versa.
  2          19.   YOU are instructed to produce all DOCUMENTS that are responsive
  3   to these Requests and that are in YOUR possession, custody, or control. A
  4   DOCUMENT is in YOUR "possession, custody, or control" if it is in YOUR
  5   physical possession, or if, as a practical matter, YOU have the ability, upon
  6   request, to OBTAIN possession of the DOCUMENT or a copy thereof from
  7   another person or entity that has physical possession of the DOCUMENT.
  8         20.    If any DOCUMENT or category of DOCUMENTS is not produced
  9   in full, please state with particularity the reason or reasons it is not being
 10   produced in full, and describe, to the best of YOUR knowledge, information and
 11   belief, and with as much particularity as possible, the DOCUMENT or portions of
 12   the DOCUMENT that are not being produced.
 13         21.    Each DOCUMENT is to be produced as it is kept in the usual course
 14   of business, including all file folders, binders, notebooks, and other devices by
 15   which such DOCUMENTS may be organized or separated.
 16         22.    If YOU withhold any DOCUMENT, or portion ofa DOCUMENT,
 17   on grounds that it is protected from discovery by the attorney-client privilege,
 18   work-product doctrine, or other privilege or immunity from discovery, please set
 19   forth, for each DOCUMENT or portion of a DOCUMENT withheld:
 20                 (a)   The place, approximate date, and manner of recording, creating
 21                       or otherwise preparing the DOCUMENT;
 22                (b)    The names and organization position, if any, of each author,
 23                       sender, and recipient of the DOCUMENT;
 24                (c)    A general description of the subject matter of the DOCUMENT;
 25                (d)    The basis of any claim of privilege; and
 26                (e)    If work-product is asserted, the proceeding for which the
 27                       DOCUMENT was created.
 28
                                                                  PL.'$ FIRST SET OF REQS. FOR
                                                -4-           PRODUC. TO DEF. MARC TOBEROFF

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  1          23.      F or any DOCUMENT or category of DOCUMENTS that was, but
  2   no longer is, in YOUR possession, custody or control, please describe each such
  3   DOCUMENT as completely as possible and provide the following information:
  4                   (a)    The reason the DOCUMENT is no longer in YOUR possession,
  5                          custody or control;
  6                   (b)    The person or entity, if any, who has possession, custody or
  7                          control or, ifunknown, so state; and
  8                   ( c)   If the DOCUMENT was destroyed or otherwise disposed of,
  9                          state (i) the manner of disposal (i.e., destruction, loss, discarding
 10                          or other means of disposal); (ii) the date of disposal; (iii) the
 11                          reason for disposal; (iv) the person authorizing disposal; (v) the
 12                          person disposing of the DOCUMENT; and (vi) the name and
 13                          address of the most recent custodian of the DOCUMENT.
 14         24.       Each Request shall be construed independently and no Request shall
 15   be viewed as limiting the scope of any other Request.
 16         25.       All responsive DOCUMENTS maintained or stored in electronic
 17   format shall be produced in native file format with all associated metadata
 18   preserved. All responsive DOCUMENTS maintained in hard copy shall be
 19   produced in TIFF.
 20         26.       The collection and production of DOCUMENTS shall be performed
 21   in a manner that ensures that the source of each DOCUMENT may be
 22   determined, if necessary.
 23         27.       DOCUMENTS attached to each other shall not be separated.
 24         28.       These Requests impose a continuing obligation subsequent to YOUR
 25   initial production within thirty days of the service date of these Requests, or other
 26   date mutually agreed upon by the parties, to timely supplement YOUR response
 27   or production if YOU determine that YOUR response or production is incomplete
 28   or incorrect.
                                                                    PL.'S FIRST SET OF REQS. FOR
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  1                            DOCUMENTS REQUESTED
  2           1.    All agreements between or among YOU and any DEFENDANT
  3     RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
  4     SUPERBOY.
  5           2.    All agreements between or among YOU and any DEFENDANT
  6     RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
  7     SUPERBOY.
  8           3.    All agreements between or among YOU and any DEFENDANT.
  9 .         4.    All agreements between or among YOU and any third party
 10     RELATING to SUPERMAN and/or SUPERBOY.
 11           5.    All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.
 12           6.    All DOCUMENTS OBTAINED by YOU prior to October 1, 2002,
 13     RELATING to negotiations between the SIEGEL HEIRS and DC Comics
 14     RELATING to SUPERMAN and/or SUPERBOY.
 15           7.    All DOCUMENTS RELATING to the SIEGEL HEIRS OBTAINED
 16     by YOU prior to October 1, 2002.
 17 .         8.    All DOCUMENTS RELATING to the SHUSTER HEIRS
 18     OBTAINED by YOU prior to YOUR initial,contact with any of them.
 19           9.    All DOCUMENTS RELATING to any of the DEFENDANTS
 20     OBTAINED by YOU prior to YOUR initial contact with each of them.
 21           10.   All DOCUMENTS RELATING to your past, current, or potential
 22     ownership interest in any rights in SUPERMAN and/or SUPERBOY.
 23           11.   All DOCUMENTS RELATING to YOUR ability to negotiate or enter
 24     into agreements regarding SUPERMAN and/or SUPERBOY.
 25           12.   All DOCUMENTS RELATING to or affecting the disposition,
 26     division, or ownership of any rights in SUPERMAN and/or SUPERBOY.
 27           13.   All DOCUMENTS RELATING to or affecting the division of revenue,
 28     proceeds, or other profits regarding SUPERMAN and/or SUPERBOY.
                                                            PL.'S FIRST SET OF REQS. FOR
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  1         14.      All DOCUMENTS RELATING to or affecting the division of any
  2   settlement proceeds regarding SUPERMAN and/or SUPERBOY.
  3         15.      All DOCUMENTS RELATING to the potential sale, assignment,
  4   license, or other disposition of any rights RELATING to SUPERMAN and/or
  5   SUPERBOY, including but not limited to any solicitation, offer, option, or
  6   proposed agreement.
  7         16.      All DOCUMENTS RELATING to any efforts YOU have made to sell,
  8   lease, license, or otherwise exploit any rights in SUPERMAN and/or SUPERBOY.
  9         17.      All DOCUMENTS RELATING to any potential investors or other
 10   PERSONS who have expressed interest in purchasing or otherwise investing in any
 11   rights in SUPERMAN and/or SUPERBOY.
 12         18.      All DOCUMENTS RELATING tothe valuation of any past, current,
 13   or potential ownership interest in SUPERMAN and/or SUPERBOY.
 14         19.      All DOCUMENTS RELATING to any internal or external
 15   investigation YOU participated in regarding the TOBEROFF TIMELINE
 16   AUTHOR and/or the TOBEROFF TIMELINE, including the findings of any such
 17   investigation.
 18         20.      All DOCUMENTS RELATING to any COMMUNICATIONS YOU
 19   have had with the TOBEROFF TIMELINE AUTHOR since July 2006.
 20         21.      All DOCUMENTS RELATING to the ALLEGED GRAND JURY
 21   INVESTIGATION.
 22         22.      All DOCUMENTS RELATING to the ALLEGED DISCIPLINARY
 23   ACTION.
 24         23.      All DOCUMENTS RELATING to any legal, administrative, or
 25   disciplinary action YOU have participated in regarding the TOBEROFF
 26   TIMELINE AUTHOR or the TOBEROFF TIMELINE, including any
 27   COMMUNICATIONS YOU have had with law enforcement or the state bar
 28   association.
                                                              PL.'S FIRST SET OF REQS. FOR
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  1         24.   All DOCUMENTS RELATING to any COMMUNICATIONS YOU
  2   have had with the SIEGEL HEIRS RELATED to the TOBEROFF TIMELINE
  3   AUTHOR or the TOBEROFF TIMELINE.
  4         25.   All DOCUMENTS RELATING to any COMMUNICATIONS YOU
  5   have had with the SHUSTER HEIRS RELATED to the TOBEROFF TIMELINE
  6   AUTHOR or the TOBEROFF TIMELINE.
  7         26.   All DOCUMENTS RELATING to any COMMUNICATIONS YOU
  8   have had with third parties RELATED to the TOBEROFF TIMELINE AUTHOR
  9   or the TOBEROFF TIMELINE.
 10         27.   All DOCUMENTS RELATING to YOUR introduction to the SIEGEL
 11   HEIRS.
 12         28.   All DOCUMENTS RELATING to YOUR introduction to the
 13   SHUSTER HEIRS.
 14         29.   All DOCUMENTS RELATING to the transfer of any property or
 15   interest between or among YOU and any DEFENDANT.
 16         30.   All COMMUNICATIONS RELATING to any disclosure of a potential
 17   or actual conflict of interest by or to YOU or any DEFENDANT.
 18         31.   All DOCUMENTS RELATING to any waiver or acknowledgement of
 19   a potential or actual conflict of interest by or to YOU or any DEFENDANT.
 20         32.   All DOCUMENTS RELATING to any past, current, or planned
 21   partnership or strategic alliance between YOU and any individual or entity
 22   RELATING to any DEFENDANT.
 23         33.   All DOCUMENTS RELATING to any past, current, or planned
 24   partnership or strategic alliance between YOU and any individual or entity
 25   RELATING to any intellectual property rights.
 26         34.   All DOCUMENTS RELATING to the letter agreement dated
 27   November 23, 2001 that YOU signed with the SHUSTER HEIRS.
 28         35.   All DOCUMENTS RELATING to Ari Emanuel.
                                                              PL.'S FIRST SET OF REQS. FOR
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  1         36.   All DOCUMENTS RELATING to any COMMUNICATIONS with
  2   Ari Emanuel.
  3         37.   All DOCUMENTS RELATING to the Memorandum of Agreement
  4   dated February 2, 2002 that YOU signed with Ari Emanuel.
  5         38.   All DOCUMENTS RELATING to any contributions by YOU to the IP
  6   Worldwide joint venture dated February 2, 2002 between DEFENDANT Pacific
  7   Pictures Corporation and Ari Emanuel.
  8         39.   All DOCUMENTS RELATING to YOUR identification of"JS
  9   Claims" in Appendix 1 to the February 2, 2002 Memorandum of Agreement.
 10         40.   All DOCUMENTS RELATING to the letter agreement dated October
 11   27,2003 that YOU signed with the SHUSTER HEIRS.
 12         41.   All DOCUMENTS RELATING to the letter dated September 10,2004
 13   that YOU signed with the SHUSTER HEIRS.
 14         42.   All DOCUMENTS RELATING to any COMMUNICATION between
 15   YOU and Kevin Marks.
 16         43.   All DOCUMENTS RELATING to any COMMUNICATION
 17   RELATING to the "Declaration of Kevin S. Marks in Support of Toberoff
 18   Defendants' Reply Memorandum in Support of Motion to Strike Plaintiff s State
 19   Law Causes of Action Pursuant to California's Anti-SLAPP Law (Cal. Code Civ.
 20   Proc. § 425,16)" filed in the above-entitled action on October 4,2010 (Docket No.
 21   98-3), including any and all drafts of that declaration and any and all
 22   DOCUMENTS reflecting the contents of that declaration.
 23         44.   All DOCUMENTS RELATING to the letter dated August 9,2002
 24   from Kevin Marks to Joanne and/or Laura Siegel.
 25         45.   All DOCUMENTS RELATING to any COMMUNICATION between
 26   YOU and Don Bulson RELATING to the rights in SUPERMAN and/or
 27   SUPERBOY.
 28
                                                                PL.'S FIRST SET OF REQS. FOR
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  1          46.     All DOCUMENTS RELATING to any COMMUNICATION between
  2    YOU and Michael Siegel RELATING to the rights in SUPERMAN and/or
  3    SUPERBOY.
  4          47.     All DOCUMENTS RELATING to any COMMUNICATION between
  5    YOU and Warner Bros. executive Steven Spira regarding the rights in
  6    SUPERMAN and/or SUPERBOY.
  7          48.     All DOCUMENTS RELATING to any COMMUNICATION between
  8    or among Laura Siegel Larson and Michael Siegel.
  9          49.     All DOCUMENTS RELATING to YOUR involvement with or
 10    awareness of the May 9, 2002 letter from DEFENDANT Joanne Siegel to Time
 11    Warner Inc.
 12          50.     All DOCUMENTS RELATING to YOUR involvement with or
 13    awareness of the September 21, 2002 letter from DEFENDANTS Joanne Siegel
 14.   and Laura Siegel Larson to Kevin Marks.
 15          51.     All DOCUMENTS RELATING to YOUR involvement with or
 16    awareness of the September 21,2002 letter from DEFENDANTS Joanne Siegel
 17    and Laura Siegel Larson to DC Comics.
 18          52.     All DOCUMENTS RELATING to the letter agreement dated October
 19    3,2002 that YOU signed on behalf of DEFENDANT IP Worldwide, LLC, and any
 20    revisions, modifications, or adjustments thereto.
 21          53. . All DOCUMENTS RELATING to the Notice of Termination of
 22    Transfer Covering Extended Renewal Term: Superboy served on behalf of the
 23    SIEGEL HEIRS on or around November 8, 2002.
 24          54.     All DOCUMENTS RELATING to the Transfer Covering Extended
 25    Copyright Renewal Term of "Superman" served on behalf of the Estate of Joseph
 26    Shuster on November 10, 2003.
 27          55.     All DOCUMENTS RELATING to any COMMUNICATIONS you
 28    have initiated with holders of putative copyright termination rights in connection
                                                                PL.'S FIRST SET OF REQS. FOR
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  1   with your encouraging them to exercise such copyright termination right, whether
  2   or not such right was ever exercised.
  3         56.    All DOCUMENTS RELATING to your role and ownership interest in
  4   Pacific Pictures Corporation, including, articles of organization, operating
  5   agreements, minutes, capital tables or other DOCUMENTS evidencing capital
  6   accounts or capital structure, filings, income statements, business plans, etc.
  7         57.    All DOCUMENTS RELATING to your role and ownership interest in
  8   IP Worldwide LLC, including, articles of organization, operating agreements,
  9   minutes, capital tables or other DOCUMENTS evidencing capital accounts or
 10   capital structure, filings, income statements, business plans, etc.
 11         58.    All DOCUMENTS RELATING to your role and ownership interest in
 12   IPW, LLC, including, articles of organization, operating agreements, minutes,
 13   capital tables or other DOCUMENTS evidencing capital accounts or capital
 14   structure, filings, income statements, business plans, etc.
 15         59.    All DOCUMENTS RELATING to any claim of insurance you have
 16   asserted regarding this action.
 17         60.    All DOCUMENTS RELATING to YOUR DOCUMENT maintenance
 18   and retention policies.
 19
 20   Dated: December 10, 2010                    Respectfully submitted,
 21                                               O'MELVENY & MYERS LLP
                                                              (C~)
 22                                                         ~ I
                                                  B y_:_.   ~L~~
 23                                                     Daniel M. Petrocelli
 24                                               Attorneys for Plaintiff DC Comics
 25
 26
 27
 28
                                                                 PL 'S FIRST SET OF REQS. FOR
                                              - 11 -         PRODUC. TO DEF. MARC TOBEROFF

                                     EXHIBIT C
                                        27
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                                   ID #:22359


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  11   Attorneys for Plaintiff DC Comics
  12
                            UNITED STATES DISTRICT COURT
  13
                         CENTRAL DISTRICT OF CALIFORNIA
  14
       DC COMICS,                                  Case No. CV-10-3633 ODW (RZx)
  15
                         Plaintiff,               DISCOVERY MATTER
  16
             v.                                   PLAINTIFF DC COMICS' FIRST
  17                                              SET OF REQUESTS FOR
       PACIFIC PICTURES                           PRODUCTION TO DEFENDANT
  18   CORPORATION IP WORLDWIDE                   IP WORLDWIDE, LLC
       LLC, IPW, LLC, MARC TOBEROFF,
  19   an individual, MARK WARREN                 Judge: Hon. Otis D. Wright II
       PEARY, as~ersonal representative of        MagIstrate: Hon. Ralph Zarefsky
 20    the ESTATE OF JOSEPH SHUSTER,
       JEAN ADELE PEAVY, an individual,
 21    JOANNE SIEGEL." an individual,
       LAURA SIEGEL LARSON~ an
 22    individual, and DOES 1-10, inclusive,
 23                      Defendants.
 24

 25    PROPOUNDING PARTY:              Plaintiff DC Comics
 26    RESPONDING PARTY:               Defendant IP Worldwide, LLC
 27    SET NUMBER:                     One (Document Request Nos. 1-39)
 28
                                                              PL.'S FIRST SET OF REQS. FOR
                                                       PRODUC. TO DEF. IP WORLDWIDE, LLC

                                      EXHIBIT C
                                         28
Case 2:10-cv-03633-ODW-RZ      Document 357-1 Filed 01/03/12        Page 29 of 53 Page
                                    ID #:22360


   1         Pursuant to Federal Rule of Civil Procedure 34, plaintiff DC Comics hereby
   2   requests that defendant IP Worldwide, LLC produce for inspection and copying all
   3   documents described in the following Requests for Production, in accordance with
   4   the definitions and instructions contained therein, by no later than January 10, 2011.
   5                       DEFINITIONS AND INSTRUCTIONS
   6         1.     "DOCUMENT" shall be interpreted in its broadest sense to include
   7   any and all "documents" and "other tangible things" as those terms are
   8   understood in Federal Rule of Civil Procedure 34, including, without limitation,
   9   any "writing," "recording," or "photograph" as those terms are defined in Federal
  10   Rule of Evidence 1001. This shall include, but is not limited to: e-mail, audio or
  11   video recordings, correspondence, letters, phone messages, notes, memoranda,
  12   facsimiles, publications, contracts, agreements, calendars, drafts of proposed
  13   contracts or agreements, papers, and photographs.
  14         2.     "COMMUNICATION" means all written, electronic, oral,
  15   telephonic, gesture, or other transmission or exchange of information, including
  16   without limitation any inquiry, request, dialogue, discussion, conversation,
  17   interview, correspondence, letter, note, consultation, negotiation, agreement,
  18   understanding, meeting, e-mail, and all DOCUMENTS evidencing any verbal or
  19   nonverbal interaction between any individuals or entities.
 20          3.     "REFER" or "RELATE" (or any conjugation thereof) means,
 21    without limitation, evidence, reflect, summarize, constitute, contain, study,
 22    analyze, explain, mention, show, discuss, describe, or comment upon.
 23          4.     "OBTAIN" (or any conjugation thereof) means, without limitation,
 24    acquire, attain, capture, come by, gain, gamer, get, procure, or secure.
 25          5.     "PERSON" means any natural person, firm, association, corporation,
 26    partnership, or other legal entity or organization separately identifiable, and any
 27    department(s) or division(s) therein.
 28
                                                                 PL. 'S FIRST SET OF REQS. FOR
                                                - 1-
                                                          PRODUC. TO DEF. IP WORLDWIDE, LLC
                                     EXHIBIT C
                                        29
Case 2:10-cv-03633-ODW-RZ      Document 357-1 Filed 01/03/12          Page 30 of 53 Page
                                    ID #:22361


  1         6.     "YOU" or "YOUR" or "IP WORLDWIDE" means IP Worldwide,
  2   LLC and, as applicable, any PERSON in which it has a controlling ownership
  3   interest or that is acting on its behalf, including but not limited to its agents,
  4   employees, attorneys, and representatives.
  5         7.     "DEFENDANT" or "DEFENDANTS" means, collectively and
  6   severally, any defendant in the above-entitled action, including YOU; Pacific
  7   Pictures Corporation; IPW, LLC; Marc Toberoff; Mark Warren Peary, on behalf
  8   of the Estate of Joseph Shuster; Jean Adele Peavy; Joanne Siegel; and Laura
  9   Siegel Larson and, as applicable, any PERSON acting on their behalf, including
 10   but not limited to their agents, employees, attorneys, and representatives.
 11         8.     "SIEGEL HEIRS" means, collectively and severally, Joanne Siegel,
 12   Laura Siegel Larson, Dennis Larson, Michael Siegel, or any other executor,
 13   administrator, heir, relative, or representative of Jerome Siegel and, as applicable,
 14   any PERSON acting on their behalf, including but not limited to their agents,
 15   employees, attorneys, and representatives.
 16         9.     "SHUSTER HEIRS" means, collectively and severally, the Estate of
 17   Joseph Shuster, Jean Adele Peavy, Mark Warren Peary, Dawn Peavy, Frank
 18   Shuster, or any other executor, administrator, heir, relative, or representative of
 19   Joseph Shuster and, as applicable, any PERSON acting on their behalf, including
 20   but not limited to their agents, employees, attorneys, and representatives.
 21          10.   "SUPERMAN" means the Superman character as delineated in
 22   literary works such as comic books, newspapers, novels, radio programs,
 23   television programs, and motion pictures, and any of the works in which he
 24   appears, including but not limited to Action Comics. No.1.
 25          11.   "SUPERBOY" means the Superboy character as delineated in
 26   literary works such as comic books, newspapers, novels, radio programs,
 27   television programs, and motion pictures, and any of the works in which he
 28   appears, including but not limited to More Fun Comics No. 101.
                                                                  PL.'S FIRST SET OF REQS. FOR
                                                -2-        PRODUC. TO DEF. IP WORLDWIDE, LLC

                                      EXHIBIT C
                                         30
Case 2:10-cv-03633-ODW-RZ       Document 357-1 Filed 01/03/12         Page 31 of 53 Page
                                     ID #:22362


   1          12.   "INCLUDING" means "including, but not limited to."
   2          13.   "Any" and "All" are interchangeable.
   3          14.   The singular form includes the plural form, and vice versa.
   4          15.   YOU are instructed to produce all DOCUMENTS that are responsive
   5   to these Requests and that are in YOUR possession, custody, or control. A
   6   D'OCUMENT is in YOUR "possession, custody, or control" if it is in YOUR
   7   physical possession, or if, as a practical matter, YOU have the ability, upon
   8   request, to OBTAIN possession of the DOCUMENT or a copy thereof from
   9   another person or entity that has physical possession of the DOCUMENT.
  10          16.   If any DOCUMENT or category of DOCUMENTS is not produced
  11   in full, please state with particularity the reason or reasons it is not being
  12   produced in full, and describe, to the best of YOUR knowledge, information and
  13   belief, and with as much particularity as possible, the DOCUMENT or portions of
  14   the DOCUMENT that are not being produced.
  15         17.    Each DOCUMENT is to be produced as it is kept in the usual course
  16   of business, including all file folders, binders, notebooks, and other devices by
  17   which such DOCUMENTS may be organized or separated.
  18         18.    If YOU withhold any DOCUMENT, or portion ofa DOCUMENT,
  19   on grounds that it is protected from discovery by the attorney-client privilege,
 20    work-product doctrine, or other privilege or immunity from discovery, please set
 21    forth, for each DOCUMENT or portion of a DOCUMENT withheld:
 22                  (a)   The place, approximate date, and manner of recording, creating
 23                        or otherwise preparing the DOCUMENT;
 24                 (b)    The names and organization position, if any, of each author,
 25                        sender, and recipient of the DOCUMENT;
 26                 (c)    A general description of the subject matter of the DOCUMENT;
 27                 (d)    The basis of any claim of privilege; and
 28
                                                                   PL.'S FIRST SET OF REQS. FOR
                                                 -3-
                                                            PRODUC. TO DEF. IP WORLDWIDE, LLC
                                      EXHIBIT C
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Case 2:10-cv-03633-ODW-RZ      Document 357-1 Filed 01/03/12         Page 32 of 53 Page
                                    ID #:22363


   1                (e)    If work-product is asserted, the proceeding for which the
   2                       DOCUMENT was created.
   3         19.    For any DOCUMENT or category of DOCUMENTS that was, but
  4    no longer is, in YOUR possession, custody or control, please describe each such
   5   DOCUMENT as completely as possible and provide the following information:
   6                (a)    The reason the DOCUMENT is no longer in YOUR possession,
   7                       custody or control;
   8                (b)    The person or entity, if any, who has possession, custody or
   9                       control or, if unknown, so state; and
  10                (c)    If the DOCUMENT was destroyed or otherwise disposed of,
  11                       state (i) the manner of disposal (i.e., destruction, loss, discarding
  12                       or other means of disposal); (ii) the date of disposal; (iii) the
  13                       reason for disposal; (iv) the person authorizing disposal; (v) the
  14                       person disposing of the DOCUMENT; and (vi) the name and
  15                       address of the most recent custodian of the DOCUMENT.
  16         20.    Each Request shall be construed independently and no Request shall
  17   be viewed as limiting the scope of any other Request.
  18         21.    All responsive DOCUMENTS maintained or stored in electronic
  19   format shall be produced in native file format with all associated metadata
 20    preserved. All responsive DOCUMENTS maintained in hard copy shall be
 21    produced in TIFF.
 22          22.    The collection and production of DOCUMENTS shall be performed
 23    in a manner that ensures that the source of each DOCUMENT may be
 24    determined, if necessary.
 25          23.    DOCUMENTS attached to each other shall not be separated.
 26          24.    These Requests impose a continuing obligation subsequent to YOUR
 27    initial production within thirty days of the service date of these Requests, or other
 28    date mutually agreed upon by the parties, to timely supplement YOUR response
                                                 _4 _             PL.'S FIRST SET OF REQS. FOR
                                                           PRODUC. TO DEF. IP WORLDWIDE, LLC

                                     EXHIBIT C
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Case 2:10-cv-03633-ODW-RZ        Document 357-1 Filed 01/03/12    Page 33 of 53 Page
                                      ID #:22364


   1   or production if YOU determine that YOUR response or production is incomplete
   2   or incorrect.
   3                              DOCUMENTS REQUESTED
   4          1.       All agreements between or among YOU and any DEFENDANT
   5   RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
   6   SUPERBOY.
   7         2.        All agreements between or among YOU and any DEFENDANT
   8   RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
   9   SUPERBOY.
  10         3.        All agreements between or among YOU and any third party
  11   RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
  12   SUPERBOY.
  13         4.        All agreements between or among YOU and any third party
  14   RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
  15   SUPERBOY.
  16          5.       All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.
  17         6.        All DOCUMENTS RELATING to the SIEGEL HEIRS.
  18         7.        All DOCUMENTS RELATING to the SHUSTER HEIRS.
  19          8.       All DOCUMENTS RELATING to YOUR ability to negotiate or enter
 20    into agreements regarding SUPERMAN and/or SUPERBOY.
 21          9.        All DOCUMENTS RELATING to or affecting the disposition,
 22    division, or ownership of any rights in SUPERMAN and/or SUPERBOY.
 23           10.      All DOCUMENTS RELATING to or affecting the division of revenue,
 24    proceeds, or other profits regarding SUPERMAN and/or SUPERBOY.
 25           11.      All DOCUMENTS RELATING to or affecting the division of any
 26    settlement proceeds regarding SUPERMAN and/or SUPERBOY.
 27           12.      All DOCUMENTS RELATING to the potential sale, assignment,
 28    license, or other disposition of any rights RELATING to SUPERMAN and/or
                                               _5 _             PL.'S FIRST SET OF REQS. FOR
                                                         PRODUC. TO DEF. IP WORLDWIDE, LLC

                                      EXHIBIT C
                                         33
Case 2:10-cv-03633-ODW-RZ     Document 357-1 Filed 01/03/12       Page 34 of 53 Page
                                   ID #:22365


   1   SUPERBOY, including but not limited to any solicitation, offer, option, or
  2    proposed agreement.
   3         13.   All DOCUMENTS RELATING to any efforts YOU have made to sell,
   4   lease, license, or otherwise exploit any rights in SUPERMAN and/or SUPERBOY.
   5         14.   All DOCUMENTS RELATING to any potential investors or other
   6   PERSONS who have expressed interest in purchasing or otherwise investing in any
   7   rights in SUPERMAN and/or SUPERBOY.
   8         15.   All DOCUMENTS RELATING to the valuation of any past, current,
   9   or potential ownership interest in SUPERMAN and/or SUPERBOY.
  10         16.   All COMMUNICATIONS RELATING to any disclosure ofa potential
  11   or actual conflict of interest by or to YOU or any DEFENDANT.
  12         17.   All DOCUMENTS RELATING to any waiver or acknowledgement of
  13   a potential or actual conflict of interest by or to YOU or any DEFENDANT.
  14         18.   All DOCUMENTS RELATING to YOUR introduction to and
  15   involvement with the SIEGEL HEIRS.
  16         19.   All DOCUMENTS RELATING to YOUR introduction to and
  17   involvement with the SHUSTER HEIRS.
  18         20.   All DOCUMENTS RELATING to the transfer of any property or
  19   interest from IP WORLDWIDE to IPW, LLC.
 20          21.   All DOCUMENTS RELATING to YOUR assertion in the
 21    Certification of Interested Parties filed on YOUR behalf in the above-entitled case
 22    on July 15,2010 that YOU have "no pecuniary interest in the matters that are the
 23    subject of Plaintiffs Third and Sixth Causes of action."
 24          22.   All DOCUMENTS RELATING to Ari Emanuel.
 25          23.   All DOCUMENTS RELATING to any COMMUNICATIONS with
 26    Ari Emanuel.
 27
 28
                                                                PL.'S FIRST SET OF REQS. FOR
                                              - 6-       PRODUC. TO DEF. IP WORLDWIDE, LLC
                                    EXHIBIT C
                                       34
Case 2:10-cv-03633-ODW-RZ      Document 357-1 Filed 01/03/12        Page 35 of 53 Page
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   1         24.    All DOCUMENTS RELATING to the Memorandum of Agreement
   2   purporting to create the IP WORLDWIDE joint venture dated February 2, 2002
   3   between DEFENDANT Pacific Pictures Corporation and Ari Emanuel.
   4         25.    All DOCUMENTS RELATING to the contributions of
   5   DEFENDANTS Marc Toberoff and Pacific Pictures Corporation to IP
   6   WORLDWIDE.
   7         26.    All DOCUMENTS RELATING to the identification of"JS Claims" in
   8   Appendix 1 to the February 2, 2002 Memorandum of Agreement.
   9         27.    All DOCUMENTS RELATING to the letter agreement dated October
  10   3, 2002-and any revisions, modifications, or adjustments thereto-that IP
  11   WORLDWIDE signed with the SIEGEL HEIRS.
  12         28.    All DOCUMENTS RELATING to the identification ofIP
  13   WORLDWIDE on the Document Cover Sheet for Recordation of Documents filed
  14   with the Transfer Covering Extended Copyright Renewal Term of "Superman"
  15   served on behalf of the Estate of Joseph Shuster on November 10,2003.
  16         29.    All DOCUMENTS RELATING to the formation ofIP
  17   WORLDWIDE.
  18         30.    All DOCUMENTS RELATING to the current corporate status ofIP
  19   WORLDWIDE.
 20          31.    All DOCUMENTS RELATING to the past and current ownership and
 21    management structure ofIP WORLDWIDE, including operating agreements,
 22    capitalization schedules, capital accounts, filings, K-1s, and other financial forms.
 23          32.   All DOCUMENTS RELATING to any past, current, or planned
 24    business activity of IP WORLDWIDE.
 25          33.   All DOCUMENTS RELATING to any past, current, or planned
 26    property in which IP WORLDWIDE held, holds, or will hold an interest.
 27          34.   All DOCUMENTS RELATING to any individual or entity that
 28    currently holds property or interests formerly held by IP WORLDWIDE.
                                                                 PL. 's FIRST SET OF REQS. FOR
                                                -7-       PRODUC. TO DEF. IP WORLDWIDE, LLC
                                     EXHIBIT C
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                                     ID #:22367


  1             35.   All DOCUMENTS RELATING to any past, current, or planned client
  2   ofIP WORLDWIDE.
  3             36.   All DOCUMENTS RELATING to any past or current member,
  4   employee, or shareholder of IP WORLDWIDE.
  5             37.   All DOCUMENTS RELATING to any past, current, or planned
  6   partnership or strategic alliance between IP WORLDWIDE and any individual or
  7   entity.
  8             38.   All DOCUMENTS RELATING to any claim of insurance you have
  9   asserted regarding this action.
 10             39.   All DOCUMENTS RELATING to YOUR DOCUMENT maintenance
 11   and retention policies.
 12
 13   Dated: December 10,2010                    Respectfully submitted,
 14                                              O'MELVENY & MYERS LLP
 15
 16
                                                 By:            a
                                                       Daniel MPetrocelli
 17                                              Attorneys for Plaintiff DC Comics
 18
 19
 20   CCI :840152


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                                                              PL.'S FIRST SET OF REQS. FOR
                                             -8-       PRODUC. TO DEF. IP WORLDWIDE, LLC

                                     EXHIBIT C
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Case 2:10-cv-03633-ODW-RZ      Document 357-1 Filed 01/03/12       Page 37 of 53 Page
                                    ID #:22368


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  11    Attorneys for Plaintiff DC Comics
  12
                            UNITED STATES DISTRICT COURT
  13
                          CENTRAL DISTRICT OF CALIFORNIA
  14
        DC COMICS,                                  Case No. CV-10-3633 ODW (RZx)
  15
                          Plaintiff,                DISCOVERY MATTER
  16
              v.                                    PLAINTIFF DC COMICS' FIRST
  17                                                SET OF REQUESTS FOR
         PACIFIC PICTURES                           PRODUCTION TO DEFENDANT
  18     CORPORATION IP WORLDWIDE                   IPW,LLC
         LLC, IPW, LLC, MARC TOBEROFF,
  19     an individual, MARK WARREN                 Judge: Hon. Otis D. Wright II
         PEARY, aspersonal representative of        MagIstrate: Hon. Ralph Zarefsky
 20      the ESTATE OF JOSEPH SHUSTER,
         JEAN ADELE PEAVY, an individual,
 21    . JOANNE SIEGEL; an individual,
         LAURA SIEGEL LARSON, an
 22      individual, and DOES 1-10, inclusive,
 23                       Defendants.
 24
 25     PROPOUNDING PARTY:              Plaintiff DC Comics
 26     RESPONDING PARTY:               Defendant IPW, LLC
 27     SET NUMBER:                      One (Document Request Nos. 1-34)
 28
                                                               PL. 'S FIRST SET OF REQS. FOR
                                                                  PRODUC. TO DEF. IPW, LLC

                                       EXHIBIT C
                                          37
Case 2:10-cv-03633-ODW-RZ      Document 357-1 Filed 01/03/12         Page 38 of 53 Page
                                    ID #:22369


   1         Pursuant to Federal Rule of Civil Procedure 34, plaintiff DC Comics hereby
   2   requests that defendant IPW, LLC produce for inspection and copying all
   3   documents described in the following Requests for Production, in accordance with
   4   the definitions and instructions contained therein, by no later than January 10, 2011.
   5                        DEFINITIONS AND INSTRUCTIONS
   6          1.    "DOCUMENT" shall be interpreted in its broadest sense to include
   7   any and all "documents" and "other tangible things" as those terms are
   8   understood in Federal Rule of Civil Procedure 34, including, without limitation,
   9   any "writing," "recording," or "photograph" as those terms are defined in Federal
  10   Rule of Evidence 1001. This shall include, but is not limited to: e-mail, audio or
  11   video recordings, correspondence, letters, phone messages, notes, memoranda,
  12   facsimiles, publications, contracts, agreements, calendars, drafts of proposed
  13   contracts or agreements, papers, and photographs.
  14         2.     "COMMUNICATION" means all written, electronic, oral,
  15   telephonic, gesture, or other transmission or exchange of information, including
  16   without limitation any inquiry, request, dialogue, discussion, conversation,
  17   interview, correspondence, letter, note, consultation, negotiation, agreement,
  18   understanding, meeting, e-mail, and all DOCUMENTS evidencing any verbal or
  19   nonverbal interaction between any individuals or entities.
 20          3.     "REFER" or "RELATE" (or any conjugation thereof) means,
 21    without limitation, evidence, reflect, summarize, constitute, contain, study,
 22    analyze, explain, mention, show, discuss, describe, or comment upon.
 23          4.     "OBTAIN" (or any conjugation thereof) means, without limitation,
 24    acquire, attain, capture, come by, gain, gamer, get, procure, or secure.
 25          5.     "PERSON" means any natural person, firm, association, corporation,
 26    partnership, or other legal entity or organization separately identifiable, and any
 27    department(s) or division(s) therein.
 28
                                                                    PL.'S FIRST SET OF REQS. FOR
                                                - 1-
                                                                      PRODUC. TO DEF. IPW, LLC
                                     EXHIBIT C
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                                    ID #:22370


  1         6.     "YOU" or "YOUR" or "IPW" means IPW, LLC and, as applicable ,
  2   any PERSON in which it has a controlling interest or that is acting on its behalf,
  3   including but not limited to its agents, employees, attorneys, and representatives.
  4         7.     "DEFENDANT" or "DEFENDANTS" means, collectively and
  5   severally, any defendant in the above-entitled action, including YOU; Pacific
  6   Pictures Corporation; IP Worldwide, LLC; Marc Toberoff; Mark Warren Peary,
  7   on behalf of the Estate of Joseph Shuster; Jean Adele Peavy; Joanne Siegel; and
  8   Laura Siegel Larson and, as applicable, any PERSON acting on their behalf,
  9   including but not limited to their agents, employees, attorneys, and
 10   representatives.
 11         8.     "SIEGEL HEIRS" means, collectively and severally, Joanne Siegel,
 12   Laura Siegel Larson, Dennis Larson, Michael Siegel, or any other executor,
 13   administrator, heir, relative, or representative of Jerome Siegel and, as applicable,
 14   any PERSON acting on their behalf, including but not limited to their agents,
 15   employees, attorneys, and representatives.
 16         9.     "SHUSTER HEIRS" means, collectively and severally, the Estate of
 17   Joseph Shuster, Jean Adele Peavy, Mark Warren Peary, Dawn Peavy, Frank
 18   Shuster, or any other executor, administrator, heir, relative, or representative of
 19   Joseph Shuster and, as applicable, any PERSON a~ting on their behalf, including
 20   but not limited to their agents, employees, attorneys, and representatives.
 21         10.    "SUPERMAN" means the Superman character as delineated in
 22   literary works such as comic books, newspapers, novels, radio programs,
 23   television programs, and motion pictures, and any of the works in which he
 24   appears, including but not limited to Action Comics. No.1.
 25         11.    "SUPERBOY" means the Superboy character as delineated in
 26 . literary works such as comic books, newspapers, novels, radio programs,
 27   television programs, and motion pictures, and any of the works in which he
 28   appears, including but not limited to More Fun Comics No. 101.
                                                                  PL.'S FIRST SET OF REQS. FOR
                                               -2-                  PRODUC. TO DEF. IPW, LLC

                                     EXHIBIT C
                                        39
Case 2:10-cv-03633-ODW-RZ       Document 357-1 Filed 01/03/12         Page 40 of 53 Page
                                     ID #:22371


   1          12.   "INCLUDING" means "including, but not limited to."
   2          13.   "Any" and "All" are interchangeable.
   3          14.   The singular form includes the plural form, and vice versa.
   4          15.   YOU are instructed to produce all DOCUMENTS that are responsive
   5   to these Requests and that are in YOUR possession, custody, or control. A
   6   DOCUMENT is in YOUR "possession, custody, or control" if it is in YOUR
   7   physical possession, or if, as a practical matter, YOU have the ability, upon
   8   request, to obtain possession of the DOCUMENT or a copy thereof from another
   9   person or entity that has physical possession of the DOCUMENT.
  10          16.   If any DOCUMENT or category of DOCUMENTS is not produced
  11   in full, please state with particularity the reason or reasons it is not being
  12   produced in full, and describe, to the best of YOUR knowledge, information and
  13   belief, and with as much particularity as possible, the DOCUMENT or portions of
  14   the DOCUMENT that are not being produced.
  15          17.   Each DOCUMENT is to be produced as it is kept in the usual course
  16   of business, including all file folders, binders, notebooks, and other devices by
  17   which such DOCUMENTS may be organized or separated.
  18          18.   If YOU withhold any DOCUMENT, or portion ofa DOCUMENT,
 19    on grounds that it is protected from discovery by the attorney-client privilege,
 20    work-product doctrine, or other privilege or immunity from discovery, please set
 21    forth, for each DOCUMENT or portion of a DOCUMENT withheld:
 22                  (a)   The place, approximate date, and manner of recording, creating
 23                        or otherwise preparing the DOCUMENT;
 24                 (b)    The names and organization position, if any, of each author,
 25                        sender, and recipient of the DOCUMENT;
 26                 (c)    A general description of the subject matter of the DOCUMENT;
 27                 (d)    The basis of any claim of privilege; and
 28
                                                                    PL.'S FIRST SET OF REQS. FOR
                                                 -3-                  PRODUC. TO DEF. IPW, LLC
                                      EXHIBIT C
                                         40
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                                    ID #:22372


   1                (e)    If work-product is asserted, the proceeding for which the
   2                       DOCUMENT was created.
   3         19.    F or any DOCUMENT or category of DOCUMENTS that was, but
   4   no longer is, in YOUR possession, custody or control, please describe each such
   5   DOCUMENT as completely as possible and provide the following information:
   6                (a)    The reason the DOCUMENT is no longer in YOUR possession,
   7                       custody or control;
   8                (b)    The person or entity, if any, who has possession, custody or
   9                       control or, if unknown, so state; and
  10                (c )   If the DOCUMENT was destroyed or otherwise disposed of,
  11                       state (i) the manner of disposal (i.e., destruction, loss, discarding
  12                       or other means of disposal); (ii) the date of disposal; (iii) the
  13                       reason for disposal; (iv) the person authorizing disposal; (v)·the
  14                       person disposing of the DOCUMENT; and (vi) the name and
  15                       address of the most recent custodian of the DOCUMENT.
  16         20.    Each Request shall be construed independently and no Request shall
  17   be viewed as limiting the scope of any other Request.
  18         21.    All responsive DOCUMENTS maintained or stored in electronic
  19   format shall be produced in native file format with all associated metadata
 20    preserved. All responsive DOCUMENTS maintained in hard copy shall be
 21    produced in TIFF.
 22          22.    The collection and production of DOCUMENTS shall be performed
 23    in a manner that ensures that the source of each DOCUMENT may be
 24    determined, if necessary.
 25          23.    DOCUMENTS attached to each other shall not be separated.
 26          24.    These Requests impose a continuing obligation subsequent to YOUR
 27    initial production within thirty days of the service date of these Requests, or other
 28    date mutually agreed upon by the parties, to timely supplement YOUR response
                                                 _4 _               PL.'S FIRST SET OF REQS. FOR
                                                                      PRODUC. TO DEF. IPW, LLC
                                     EXHIBIT C
                                        41
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                                      ID #:22373


   1   or production if YOU determine that YOUR response or production is incomplete
   2   or incorrect.
   3                              DOCUMENTS REQUESTED
   4          1.       All agreements between or among YOU and any DEFENDANT
   5   RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
   6   SUPERBOY.
   7         2.        All agreements between or among YOU and any DEFENDANT
   8   RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
   9   SUPERBOY.
  10         3.        All agreements between or among YOU and any third party
  11   RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
  12   SUPERBOY.
  13         4.        All agreements between or among YOU and any third party
  14   RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
  15   SUPERBOY.
  16         5.        All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.
  17         6.        All DOCUMENTS RELATING to the SIEGEL HEIRS.
  18         7.        All DOCUMENTS RELATING to the SHUSTER HEIRS.
  19         8.        All DOCUMENTS RELATING to YOUR ability to negotiate or enter
 20    into agreements regarding SUPERMAN and/or SUPERBOY.
 21          9.        All DOCUMENTS RELATING to or affecting the disposition,
 22    division, or ownership of an~ rights in SUPERMAN and/or SUPERBOY.
 23           10.      All DOCUMENTS RELATING to or affecting the division of revenue,
 24    proceeds, or other profits regarding SUPERMAN and/or SUPERBOY.
 25           11.      All DOCUMENTS RELATING to or affecting the division of any
 26    settlement proceeds regarding SUPERMAN and/or SUPERBOY.
 27          12.       All DOCUMENTS RELATING to the potential sale, assignment,
 28    license, or other disposition of any rights relating to SUPERMAN and/or
                                                                 PL.'S FIRST SET OF REQS. FOR
                                               -5-                 PRODUC. TO DEF. IPW, LLC
                                      EXHIBIT C
                                         42
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   1   SUPERBOY, including but not limited to any solicitation, offer, option, or
  2    proposed agreement.
   3         13.   All DOCUMENTS RELATING to any efforts YOU have made to sell,
  4    lease, license, or otherwise exploit any rights in SUPERMAN and/or SUPERBOY.
   5         14.   All DOCUMENTS RELATING to any potential investors or other
   6   PERSONS who have expressed interest in purchasing or otherwise investing in any
   7   rights in SUPERMAN and/or SUPERBOY.
   8         15.   All DOCUMENTS RELATING to the valuation of any past, current,
   9   or potential ownership interest in SUPERMAN and/or SUPERBOY.
 10          16.   All COMMUNICATIONS RELATING to any disclosure ofa potential
  11   or actual conflict of interest by or to YOU or any DEFENDANT.
  12         17.   All DOCUMENTS RELATING to any waiver or acknowledgement of
  13   a potential or actual conflict of interest by or to YOU or any DEFENDANT.
  14         18.   All DOCUMENTS RELATING to YOUR introduction to and
  15   involvement with the SIEGEL HEIRS.
  16         19.   All DOCUMENTS RELATING to YOUR introduction to and
  17   involvement with the SHUSTER HEIRS.
  18         20.   All DOCUMENTS RELATING to the transfer of any property or
  19   interest from DEFENDANT IP Worldwide, LLC to IPW.
 20          21.   All DOCUMENTS RELATING to YOUR assertion in the
 21    Certification of Interested Parties filed on YOUR behalf in the above-entitled case
 22    on July 15, 2010 that YOU have "no pecuniary interest in the matters that are the
 23    subject of Plaintiffs Third and Sixth Causes of action."
 24          22.   All DOCUMENTS RELATING to Ari Emanuel.
 25          23.   All DOCUMENTS RELATING to any COMMUNICATIONS with
 26    Ari Emanuel.
 27          24.   All DOCUMENTS RELATING to the formation of IPW.
 28          25.   All DOCUMENTS RELATING to the current corporate status of IPW.
                                                                  PL. 'S FIRST SET OF REQS. FOR
                                              -6-                    PRODUC. TO DEF. IPW, LLC
                                    EXHIBIT C
                                       43
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  1           26.    All DOCUMENTS RELATING to the past and current ownership and
  2   management structure of IPW, including operating agreements, capitalization
  3   schedules, capital accounts, filings, and other financial forms.
  4            27.   All DOCUMENTS RELATING to any past, current, or planned
  5   business activity of IPW.
  6            28.   All DOCUMENTS RELATING to any past, current, or planned
  7   property in which IPW held, holds, or will hold an interest.
  8           29.    All DOCUMENTS RELATING to any individual or entity that
  9   currently holds property or interests formerly held by IPW.
 10           30.    All DOCUMENTS RELATING to any past, current, or planned client
 11   of IPW.
 12           31.    All DOCUMENTS RELATING to any past or current member,
 13   employee, or shareholder of IPW.
 14           32.    All DOCUMENTS RELATING to any past, current, or planned
 15   partnership or strategic alliance between IPW and any individual or entity.
 16           33.    All DOCUMENTS RELATING to any claim of insurance you have
 17   asserted regarding this action.
 18           34.    All DOCUMENTS RELATING to YOUR DOCUMENT maintenance
 19   and retention policies.
 20
      Dated: December 10, 2010                    Respectfully submitted,
 21
                                                  O'MEL VENY & MYERS LLP
 22
 23                                                      ---=--------------;--c;;lL~_____._..____­
                                                  By-=---:
                                                          Daniel M. Petrocelli
 24
                                                  Attorneys for Plaintiff DC Comics
 25
 26
 27   CC!:840149

 28
                                                                   PL.'S FIRST SET OF REQS. FOR
                                              -7-                    PRODUC. TO DEF. IPW, LLC

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                                   ID #:22376


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  10   FacsImile: (845) 265-2819
  11   Attorneys for Plaintiff DC Comics
  12
                            UNITED STATES DISTRICT COURT
  13
                         CENTRAL DISTRICT OF CALIFORNIA
  14
       DC COMICS,                                  Case No. CV-I0-3633 ODW (RZx)
  15
                         Plaintiff,                DISCOVERY MATTER
  16
             v.                                    PLAINTIFF DC COMICS' FIRST
  17                                               SET OF REQUESTS FOR
       PACIFIC PICTURES                            PRODUCTION TO DEFENDANT
  18   CORPORATION IP WORLDWIDE,                   PACIFIC PICTURES
       LLC, IPW, LLC, MARC TOBEROFF,               CORPORATION
  19   an individual, MARK WARREN
       PEARY, aspersonal representative of         Judge: Hon. Otis D. Wright II
 20    the ESTATE OF JOSEPH SHUSTER,               Magistrate: Hon. Ralph Zarefsky
       JEAN ADELE PEAVY, an individual,
 21    JOANNE SIEGEL; an individual,
       LAURA SIEGEL LARSON, an
 22    individual, and DOES 1-10, inclusive,
 23                      Defendants.
 24

 25    PROPOUNDING PARTY:              Plaintiff DC Comics
 26    RESPONDING PARTY:               Defendant Pacific Pictures Corporation
 27    SET NUMBER:                     One (Document Request Nos. 1-38)
 28
                                                               PL.'S FIRST SET OF REQS. FOR
                                                                   PRODUC. TO DEF. PACIFIC
                                                                    PICTURES CORPORATION
                                      EXHIBIT C
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   1         Pursuant to Federal Rule of Civil Procedure 34, plaintiff DC Comics hereby
   2   requests that defendant Pacific Pictures Corporation produce for inspection and
   3   copying all documents described in the following Requests for Production, in
   4   accordance with the definitions and instructions contained therein, by no later than
   5   January 10, 2011.
   6                        DEFINITIONS AND INSTRUCTIONS
   7          1.    "DOCUMENT" shall be interpreted in its broadest sense to include
   8   any and all "documents" and "other tangible things" as those terms are
   9   understood in Federal Rule of Civil Procedure 34, including, without limitation,
  10   any "writing," "recording," or "photograph" as those terms are defined in Federal
  11   Rule of Evidence 1001. This shall include, but is not limited to: e-mail, audio or
  12   video recordings, correspondence, letters, phone messages, notes, memoranda,
  13   facsimiles, publications, contracts, agreements, calendars, drafts of proposed
  14   contracts or agreements, papers, and photographs.
  15         2.     "COMMUNICATION" means all written, electronic, oral,
  16   telephonic, gesture, or other transmission or exchange of information, including
  17   without limitation any inquiry, request, dialogue, discussion, conversation,
  18   interview, correspondence, letter, note, consultation, negotiation, agreement,
  19   understanding, meeting, e-mail, and all DOCUMENTS evidencing any verbal or
 20    nonverbal interaction between any individuals or entities.
 21          3.     "REFER" or "RELATE" (or any conjugation thereof) means,
 22    without limitation, evidence, reflect, summarize, constitute, contain, study,
 23    analyze, explain, mention, show, discuss, describe, or comment upon.
 24          4.     "OBTAIN" (or any conjugation thereof) means, without limitation,
 25    acquire, attain, capture, come by, gain, gamer, get, procure, or secure.
 26          5.     "PERSON" means any natural person, firm, association, corporation,
 27    partnership, or other legal entity or organization separately identifiable, and any
 28    department(s) or division(s) therein.
                                                                    PL.'S FIRST SET OF REQS. FOR
                                                - 1-                    PRODUC. TO DEF. PACIFIC
                                                                         PICTURES CORPORATION
                                     EXHIBIT C
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  1         6.     "YOU" or "YOUR" or "PACIFIC PICTURES" means Pacific
  2   Pictures Corporation and, as applicable, any PERSON in which it has a
  3   controlling interest or that is acting on its behalf, including but not limited to
  4   its/their agents, employees, attorneys, and representatives.
  5         7.     "DEFENDANT" or "DEFENDANTS" means, collectively and
  6   severally, any defendant in the above-entitled action, including YOU; IP
  7   Worldwide, LLC; IPW, LLC; Marc Toberoff; Mark Warren Peary, on behalf of
  8   the Estate of Joseph Shuster; Jean Adele Peavy; Joanne Siegel; and Laura Siegel
  9   Larson and, as applicable, any PERSON acting on their behalf, including but not
 10   limited to their agents, employees, attorneys, and representatives.
 11         8.     "SIEGEL HEIRS" means, collectively and severally, Joanne Siegel,
 12   Laura Siegel Larson, Dennis Larson, Michael Siegel, or any other executor,
 13   administrator, heir, relative, or representative of Jerome Siegel and, as applicable,
 14   ·any PERSON acting on their behalf, including but not limited to their agents,
 15   employees, attorneys, and representatives.
 16         9.     "SHUSTER HEIRS" means, collectively and severally, the Estate of
 17   Joseph Shuster, Jean Adele Peavy, Mark Warren Peary, Dawn Peavy, Frank
 18   Shuster, or any other executor, administrator, heir, relative, or representative of
 19   Joseph Shuster and, as applicable, any PERSON acting on their behalf, including
 20   but not limited to their agents, employees, attorneys, and representatives.
 21          10.   "SUPERMAN" means the Superman character as delineated in
 22   literary works such as comic books, newspapers, novels, radio programs,
 23   television programs, and motion pictures, and any of the works in which he
 24   appears, including but not limited to Action Comics. No . 1.
 25          11.   "SUPERBOY" means the Superboy character as delineated in
 26   literary works such as comic books, newspapers, novels, radio programs,
 27   television programs, and motion pictures, and any of the works in which he
 28   appears, including but not limited to More Fun Comics No. 101.
                                                                   PL.'S FIRST SET OF REQS. FOR
                                                -2-                    PRODUC. TO DEF. PACIFIC
                                                                        PICTURES CORPORA nON
                                     EXHIBIT C
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   1          12.   "INCLUDING'? means "including, but not limited to."
   2          13.   "Any" and "All" are interchangeable.
   3          14.   The singular form includes the plural form, and vice versa.
  4           15.   YOU are instructed to produce all DOCUMENTS that are responsive
   5   to these Requests and that are in YOUR possession, custody, or control. A
   6   DOCUMENT is in YOUR "p,ossession, custody, or control" if it is in YOUR
   7   physical possession, or if, as a practical matter, YOU have the ability, upon
   8   request, to obtain possession of the DOCUMENT or a copy thereof from another
   9   person or entity that has physical possession of the DOCUMENT.
  10          16.   If any DOCUMENT or category of DOCUMENTS is not produced
  11   in full, please state with particularity the reason or reasons it is not being
  12   produced in full, and describe, to the best of YOUR knowledge, information and
  13   belief, and with as much particularity as possible, the DOCUMENT or portions of
  14   the DOCUMENT that are not being produced.
  15          17.   Each DOCUMENT is to be produced as it is kept in the usual course
 16    of business, including all file folders, binders, notebooks, and other devices by
 17    which such DOCUMENTS may be organized or separated.
  18          18.   If YOU withhold any DOCUMENT, or portion ofa DOCUMENT,
 19    on grounds that it is protected from discovery by the attorney-client privilege,
 20    work-product doctrine, or other privilege or immunity from discovery, please set
 21    forth, for each DOCUMENT or portion of a DOCUMENT withheld:
 22                  (a)   The place, approximate date, and manner of recording, creating
 23                        or otherwise preparing the DOCUMENT;
 24                 (b)    The names and organization position, if any, of each author,
 25                        sender, and recipient of the DOCUMENT;
 26                 (c)    A general description of the subject matter of the DOCUMENT;
 27                 (d)    The basis of any claim of privilege; and
 28
                                                                    PL.'S FIRST SET OF REQS. FOR
                                                 -3-                    PRODUC. TO DEF. PACIFIC
                                                                        PICTURES CORPORATION
                                      EXHIBIT C
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                                    ID #:22380


   1                (e)    If work-product is asserted, the proceeding for which the
   2                       DOCUMENT was created.
   3         19.    F or any DOCUMENT or category of DOCUMENTS that was, but
   4   no longer is, in YOUR possession, custody or control, please describe each such
   5   DOCUMENT as completely as possible and provide the following information:
   6                (a)    The reason the DOCUMENT is no longer in YOUR possession,
   7                       custody or control;
   8                (b)    The person or entity, if any, who has possession, custody or
   9                       control or, if unknown, so state; and
  10                (c)    If the DOCUMENT was destroyed or otherwise disposed of,
  11                       state (i) the manner of disposal (i.e., destruction, loss, discarding
  12                       or other means of disposal); (ii) the date of disposal; (iii) the
  13                       reason for disposal; (iv) the person authorizing disposal; (v) the
  14                       person disposing of the DOCUMENT; and (vi) the name and
  15                       address of the most recent custodian of the DOCUMENT.
  16         20.    Each Request shall be construed independently and no Request shall
  17   be viewed as limiting the scope of any other Request.
  18         21.    All responsive DOCUMENTS maintained or stored in electronic
  19   format shall be produced in native file format with all associated metadata
 20    preserved. All responsive DOCUMENTS maintained in hard copy shall be
 21    produced in TIFF.
 22          22.    The collection and production of DOCUMENTS shall be performed
 23    in a manner that ensures that the source of each DOCUMENT may be
 24    determined, if necessary.
 25          23.    DOCUMENTS attached to each other shall not be separated.
 26          24.    These Requests impose a continuing obligation subsequent to YOUR
 27    initial production within thirty days of the service date of these Requests, or other
 28    date mutually agreed upon by the parties, to timely supplement YOUR response
                                                                   PL.'S FIRST SET OF REQS. FOR
                                                 -4-                   PRODUC. TO DEF. PACIFIC
                                                                        PICTURES CORPORATION
                                     EXHIBIT C
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                                      ID #:22381


   1   or production if YOU determine that YOUR response or production is incomplete
   2   or incorrect.
   3                              DOCUMENTS REQUESTED
   4          1.       All agreements between or among YOU and any DEFENDANT
   5   RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
   6   SUPERBOY.
   7         2.        All agreements between or among YOU and any DEFENDANT
   8   RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
   9   SUPERBOY.
  10         3.        All agreements between or among YOU and any third party
  11   RELATING to the SIEGEL HEIRS' purported rights in SUPERMAN and/or
  12   SUPERBOY.
  13         4.        All agreements between or among YOU and any third party
  14   RELATING to the SHUSTER HEIRS' purported rights in SUPERMAN and/or
  15. SUPERBOY.
  16         5.        All DOCUMENTS RELATING to SUPERMAN and/or SUPERBOY.
  17         6.        All DOCUMENTS RELATING to the SIEGEL HEIRS.
  18         7.        All DOCUMENTS RELATING to the SHUSTER HEIRS.
  19         8.        All DOCUMENTS RELATING to YOUR ability to negotiate or enter
·20    into agreements regarding SUPERMAN and/or SUPERBOY.
 21          9.        All DOCUMENTS RELATING to or affecting the disposition,
 22    division, or ownership of any rights in SUPERMAN and/or SUPERBOY.
 23           10.      All DOCUMENTS RELATING to or affecting the division of revenue,
 24    proceeds, or other profits regarding SUPERMAN and/or SUPERBOY.
 25           11.      All DOCUMENTS RELATING to or affecting the division of any
 26    settlement proceeds regarding SUPERMAN and/or SUPERBOY.
 27           12.      All DOCUMENTS RELATING to the potential sale, assignment,
 28    license, or other disposition of any rights relating to SUPERMAN and/or
                                                                  PL. 's FIRST SET OF REQS. FOR
                                                 -5-                   PRODUC. TO DEF. PACIFIC
                                                                       PICTURES CORPORATION
                                      EXHIBIT C
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   1   SUPERBOY, including but not limited to any solicitation, offer, option, or
  2    proposed agreement.
   3         13.   All DOCUMENTS RELATING to any efforts YOU have made to sell,
  4    lease, license, or otherwise exploit any rights in SUPERMAN and/or SUPERBOY.
   5         14.    All DOCUMENTS RELATING to any potential investors or other
   6   PERSONS who have expressed interest in purchasing or otherwise investing in any
   7   rights in SUPERMAN and/or SUPERBOY.
   8         15.    All DOCUMENTS RELATING to the valuation of any past, current,
   9   or potential ownership interest in SUPERMAN and/or SUPERBOY.
  10         16.    All DOCUMENTS RELATING to the valuation of any past, current,
  11   or potential ownership interest in SUPERMAN and/or SUPERBOY.
  12         17.   All COMMUNICATIONS RELATING to any disclosure ofa potential
  13   or actual conflict of interest by or to YOU or any DEFENDANT.
  14         18.   All DOCUMENTS RELATING to YOUR introduction to and
  15 ~ involvement with the SIEGEL HEIRS.
  16         19.    All DOCUMENTS RELATING to YOUR introduction to and
  17   involvement with the SHUSTER HEIRS.
  18         20.    All DOCUMENTS RELATING to the letter agreement dated
  19   November 23,2001 that YOU entered into with the SHUSTER HEIRS.
 20          21.   All DOCUMENTS RELATING to Ari Emanuel.
 21          22.   All DOCUMENTS RELATING to any COMMUNICATIONS with
 22    Ari Emanuel.
 23          23.   All DOCUMENTS RELATING to YOUR past and current ownership
 24    and management structure, including operating agreements, by-laws, capitalization
 25    schedules, capital accounts, shares, filings, and other financial forms.
 26          24.   All DOCUMENTS RELATING to the Memorandum of Agreement
 27    dated February 2,2002 that YOU entered into with Ari Emanuel.
 28
                                                                   PL. 's FIRST SET OF REQS. FOR
                                                -6-                     PRODUC. TO DEF. PACIFIC
                                                                         PICTURES CORPORATION
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   1          25.   All DOCUMENTS RELATING to any contributions by YOU to the IP
  2    Worldwide joint venture.
   3          26.   All DOCUMENTS RELATING to YOUR identification of "JS
  4    Claims" in Appendix 1 to the February 2,2002 Memorandum of Agreement.
   5          27.   All DOCUMENTS RELATING to the letter agreement dated October
   6   27, 2003 that YOU entered into with the SHUSTER HEIRS.
   7          28.   All DOCUMENTS RELATING to the letter dated September 10,2004
   8   that YOU signed with the SHUSTER HEIRS.
   9          29.   All DOCUMENTS RELATING to the formation of PACIFIC
  10   PICTURES.
  11          30.   All DOCUMENTS RELATING to the current corporate status of
  12   PACIFIC PICTURES.
  13          31.   All DOCUMENTS RELATING to any past, current, or planned
  14   business activity of PACIFIC PICTURES.
  15          32.   All DOCUMENTS RELATING to any past, current, or planned
  16   property in which PACIFIC PICTURES held, holds, or will hold an interest.
 17           33.   All DOCUMENTS RELATING to any individual or entity that
  18   currently holds property or interests formerly held by PACIFIC PICTURES.
  19          34.   All DOCUMENTS RELATING to any past, current, or planned client
 20    of PACIFIC PICTURES.
 21           35.   All DOCUMENTS RELATING to any past or current member,
 22    employee, or shareholder of PACIFIC PICTURES.
 23           36.   All DOCUMENTS RELATING to any past, current, or planned
 24    partnership or strategic alliance between PACIFIC PICTURES and any individual
 25    or entity.
 26           37.   All DOCUMENTS RELATING to any claim of insurance you·have
 27    asserted regarding this action.
 28
                                                               PL.'S FIRST SET OF REQS. FOR
                                             -7-                   PRODUC. TO DEF. PACIFIC
                                                                    PICTURES CORPORATION
                                     EXHIBIT C
                                        52
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                                     ID #:22384


  1            38.   All DOCUMENTS RELATING to YOUR DOCUMENT maintenance
  2   and retention policies.
  3
  4   Dated: December 10, 2010                   Respectfully submitted,
  5                                              O'MEL VENY & MYERS LLP
  6
                                                 By:
                                                                C")
  7                                                    Daniel tl'Petrocelli
  8                                              Attorneys for Plaintiff DC Comics
  9
 10   CCI :840133


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                                                                PL.'S FIRST SET OF REQS. FOR
                                             -8-                    PRODUC. TO DEF. PACIFIC
                                                                     PICTURES CORPORATION
                                     EXHIBIT C
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